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ESTADO LIBRE ASOCIADO DE PUERTO RICO
TRIBUNAL DE PRIMERA INSTANCIA
SALA SUPERIOR DE BAYAMON

FAUSTINO XAVIER .
BETANCOURT COLON CIVEL NUM:
Parte Peticionaria

¥.
SOBRE:
PLAZA CAPARRA, LLC, D/B/A PETICION DE ORDEN

PLAZA CAPARRA,
SUPERMERCADOS MAXIMO, INC.,
FULANOS DE TAL |-100
Parte Peticionada

 

 

PETICION DE ORDEN DE INTERDICTO PERMANENTE
(No se incluye solicitud de Interdicto Pretiminar)

AL HONORABLE TRIBUNAL:

Comparece la parte peticionaria, Faustino Xavier Betancourt Colén (en
adelante, "Parte Peticionaria" o “Betancourt Col6n”), a través de la representacién
legal que suscribe, y solicita un interdicto permanente al amparo de 42 U.S.C. §
12188 debido al incumplimiento de PLAZA CAPARRA, LLC D/B/A PLAZA
CAPARRA, SUPERMERCADOS MAXKIMO, INC. haciendo negocios como
SUPERMAX, y fulanos de tal 1-100 (en adelante, “Parle Peticionada con las
disposiciones det Titulo Hl de Ia ley federal conocida como American with
Disabilities Act, 42 ULS.C. § 1218] et seq. (en adelante nos referimos al estatuto
federal come “Ley ADA”)' y violaciones a fa Seccién 504 del Rehabilitacién Act,
29 U.S.C. § 794. Se solicita un interdicto permanente, dafios nominales,’ dafios
PEI Titule HI de fa Ley ADA obliga a todas las entidades privadas y facilidades comerciales que
brindan servicios al phblico. La obligacién mnpuesta por el Titulo HP consiste en no diseriniinar cn
ef ofrecimiento de dichos servicios hacia Jas personas con impedimnentos en et disfrule igual y
pleno de los bienes, servicios y facilidades, privilcgios, ventajas o acomados en cualquier lugar de

acomodo puiblico. El enlace oficial del gabierma de fos Estados Unidos cou informactén sobre
Titulo FVM de Ley ADA es: http:/Avww.ada. pov/

2 Los dafios nominales se solicitan al amparo de lo resuelto por el Tribunal Supreme de fos
Estados Unidos el 8 de marzo de 2021 cn el normative Uzuegbunam vy. Preezewskt.
Uzueghunam v. Preczewski, 392 US. (2021), 2021 WL 850106 (March 8, 2021).
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compensatorios y otros remedios al amparo de la Seccién 504 del Rehabiltacién
Act, 29 U.S.C. § 794,

EL LUGAR DE ACOMOMO PUBLICO EN CUESTION
1, Esta es una accién que busca remediar ta discriminacién ilegal en un lugar de
acomodo pitblico’ establecido y conocido en el lugar que se menciona a
continuacion:

PLAZA CAPARRA, LLC D/B/A PLAZA CAPARRA un centro comercial, ast
como el siguiente establecimiento comercial ubicado en el mismo centro
comercial: SUPERMERCADOS MAXIMO, INC. haciendo negocios como
SUPERMAX, ubicado en Avenida Franklin Delano Roosevelt, Guaynabo, Puerto
Rico, en las coordenadas {1 8.41073940558941 8, -66.0997441 8719554.

(en adelante, nos referiremos a este lugar como “la Propiedad" o el "lugar de

acomodo piblice"),
NECESIDAD DE LA ACCION
2. Esta Peticién de interdicto permanente es necesaria por fo siguiente:
a) La Parte Peticionada no procuré la eliminacién de barreras arquitect6nicas:
b) La Parte Peficionada mantiene en el lugar de acomodo publico barreras

arquitecténicas en violacién de la ADA y a las Guias de Disefio Accesible

} Bb término "public accommodation" o jugar de acomode piblico, 42 U.S.C, E218 1(7), se define
como entidades privadas cuyas operaciones afeclan el comercio y especificamente se mencionan
los siguientes lugarcs a modo de ejemplificar lo que cs un lugar de acomodo piblico: hoteles,
moteles, hospederias, restaurantes, barras, otros establecimientos que sirvan comida o bebidas,
cines, featros, salas de conciertos y presentaciones, estadios, lugares para exhibiciones o
entretenimicnto, audilorios, centros de conveneiones, salas de presentacioncs, lugares de
congregacion, panaderlas, tienda de comestibles, tiendas de ropa, liendas de herramientas, centros
comerciales, otros esiablecimienios de ventas o renta, lugares de lavado ("laundromat"), secade
(dry-cleaning), bancos, barberias, sulones de belleza, agenctas de viaje, servicios de reparacién de
zapatos, fneravias, eslaciones de gasolina, oficina de un contable o abogado, farmacias, oficinas
de seguros, oficina de profesionales de la salud, hospitales, otros establecimiento de servicios, un
terminal o estacién utilizade para iransporiacién plblica, museos, librerias, galerias, otros lugares
donde haya exhibiciones piblicas o colecciones, parques, zooldégicos, parques de diversion y otras
lugares de recreaciin, centro de cuido de infantes ("nursery"), escuclas clementales, secundarias,
universidades, o escuelas post-graduadas privadas o cualquier otro lugar se provea educacion,
centro de cuide de nifios, centro de cuido de "seniors", refugios de personas sin hogar, lugares
donde se da comida, agencias de adapcidn, o cualquier otro eslablecimiento donde se dan servicios
sociales, gimnasios, spas de salud, boleras, lugares de golf y otros lugares de ejercicio y recreacién.
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promulgadas por el Departamento de Justicia de los Estados Unidos, las
cuales puede ser accedidas a través dei siguiente enlace oficial:
https:/Avww.ada.gov/201GADAstandards_ index htm

c) La Parte Peticionaria visité ef lugar de acomodo publico y alli encontrd
personalmente barreras arquilecténicas que se relacionan con su
discapacidad;

d) La Parte Peticionaria se (i) encuentra en inminente riesgo de encontrar las
barreras arquitecténicas o (ii) seria futil regresar al lugar de acomodo
piblico en este momento ya que constituiria un riesgo a la seguridad
personal de la Parte Peticionaria 0 equivaldria a someterse a una condicién
o situacién desagradable, humillante y discriminatoria;

e) La parle peticionaria tiene la intencién presente de poder disfrutar los
bienes, privilegios, servicios que estan disponibles en el lugar de acomodo
piblico una vez las barreras arquitecténicas sean removidas en su
totalidad. Sin embargo, fa Parte Peticionaria se reserva el derecho de
regresar al lugar de acomodo publico en cualquier momento antes de que
se remuevan las barreras arquitecténicas, aunque ello represente someterse
a condiciones peligrosas o discriminatorias, con el fin de buscar, identificar
y denuneiar ef discrimen.

LA PARTE PETICIONARIA
3. La Parte Peticionatia es una persona que suffe de una discapacidad fisica que
limita sustancialmente varias de sus actividades cotidianas principales. La
discapacidad fisica es: insuficiencia cardiaca (congestive heart failure, 20% heart
function), hidrocefalia, anormalidades del pie, obesidad. Estas condiciones o
“impairments” limitan  sustancialmente al sefior Betancourt Colon, dicha
discapacidad fisica limita sustancialmente (en comparacién con la mayoria de to

poblacion) algunas de las siguientes actividades principales cotidianas o del diario
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vivir. cuidarse asi mismo, realizar tareas manuales, ver, ofr, comer, dormir, caminat,
estar de pie, , levantar objetos, inclinarse, hablar, respirar, aprender, leer,
concentrarse, pensar, comunicarse, trabajar y olras que enciclopedias, diccionarios
y tratados médicos autoritativos han relacionado con la discapacidad antes
mencionada.
4,  Laparte Peticionaria tiene un "disability", segim definido por la Ley ADA, 42
U.S.C. § 1210201 ){A).
5. Como se mencioné, El Departamento de Transportacién y Obras Ptiblicas del
Gobierno de Puerto Rico (DTOP) ha expedido para beneficia del sefior Betancourt
Colén un rétulo removible de personas con impedimento fisico, de modo que la Parte
Pelicionaria pueda utilizar el rétulo para estacionarse en estacianamientos
identificados como accesibles o "de impedido". Ef rétulo removible no tiene que ser
utilizado en un vehiculo especifico ni tiene que ser utilizado en un vehiculo de motor
inscrito a favor de la parte Pelicionaria. La Parte Peticionaria tiene derecho a utilizar
el rotulo removible expedido por DTOP en cualquier vehiculo, ya sea uno propio,
un familiar, un amigo o un vehiculo que haya abordado de manera incidental. La
Parte Peticionaria tiene derecho legal a utilizar estacionamientos designados como
accesibles o “de impedidos" en esta jurisdiccién sin importar el vehiculo de motor
en el que se encuentre abordo.

LA PARTE PETICIONADA
6. La Parte Peticionada esta integrada por las siguientes personas naturales 0
juridicas:

i. PLAZA CAPARRA, LLC D/B/A PLAZA CAPARRA: Esta persona
juridica es titular de la Propiedad que se identifica en el primer parrafo
de esta peticion,

ti, SUPERMERCADOS MAXIMO, INC. haciendo negectos como

SUPERMAX: Esta persona juridica es operadora de un establecimiento
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comercial ubicado en la Propiedad que se identifica en el primer parrafo
de esta petician.

iii. Futanos de Tal 1-100, Estas personas naturales o juridicas desconocidas
son tifulares, arrendadores, arrendatarios y operadores de la Propiedad
que se identifica en el primer pdrrafo de esta peficion. Ya que la
identidad de estos se desconoce en estos momentos, se enmendara la
Peticién a los fines de acumularlos a este procedimiento civil. En esta
Peticién, el término "Parte Peticionaria" incluye también a todos Jos
peticionados desconocidos identificados con el nombre ficticio "Fulano
de Tal 1-100".

JURISDICCION Y COMPETENCIA
9, De este procedimiento civil ser en removido al Tribunal de Distrito de fos
Estados Unidos, se invocada furisdiccidn sobre la materia de conformidad con 28
U.S.C. 8§ F331 y 1343 (a)Q3) y (a)(4 por violaciones de la ADA.
10. El Tribunal de Primera Instancia tiene jurisdiccién original para dilucidar
controversias que surgen al amparo del Titulo Hl de la American with Disabilities
Act y la Rehabilitation Act.
li. Esta acci6n civil ha sido presentada ante el foro judicial que ostenta ta
competencia {oda vez que la Propiedad en controversia esta ubicada cn esta region
judicial.

HECHOS

12, La Propiedad es un lugar de acomodo puiblico segtin definido por la Ley ADA,
42 US.C. 12185(7) y es un lugar abierto al piblico y cuya operacidn afecta el
comercio. La Propiedad no es residencial, no es un club privado ni es una iglesia,
13. La Parte Peticionaria es residente de Puerto Rico. Su direccién es: RES Los
Lirias, 1! Catle Teresa Jornet, Edificio 12, Apartamento 34, San Juan (Cupey),

Puerto Rico. Su nimero de teléfono es: (787) 348-7280.
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14, La parte peticionaria visité la Propiedad para eso del 20 de mayo de 2021 y
encontré barreras que nterfirieron con la capacidad de 1a Parte Peticionaria para usar
y disfrutar los bienes, servicios, privilegios y acomodos ofecidos en la Propiedad.

15. Ademds, y de manera totalmente independiente a lo anterior, la Parte
Peticionaria invoca legitimacién como persona que tiene la intencién de regresar a
la Propiedad con el propésito expreso de buscar ¢ identificar barreras arquitecténicas
que haya en la Propiedad en el futuro. El fin de la bdsqueda e identificacién de las
barreras arquitecténicas seré con el fin de: (1) denunciar barreras adicionales que se
encuentren en ef futuro, (2) verificar el cumplimiento o no cumplimiento de
cualquier orden que dicte este tribunal sobre eliminacién de barreras arquitect6nicas.
Se alega afirmativamente la existencia de legitimacién activa como fester de
derechos civiles, segtin alegado en este parrafo, conforme a la norma vinculante en
esta jurisdiccién establecida en Suarez-Torres v. Panaderia y Reposteria Espafia,
Inc., No. 18-1618 (Ist Cir. Feb. 17, 2021), donde se establecié que no es necesario
que una persona con discapacidades sea un “cliente bona fide" del lugar de acomodo
publico para tener standing para reclamar derechos bajo ADA. Un tester de derechos
civiles es una persona que tiene la intencién especifica de buscar, identificar y
denunciar el discrimen, aunque ellos representen someterse al diserimen o a

condiciones poco seguras. En Suarez-Torres v. Panaderia y Reposteria Espafia, Inc.

   

>

el Primer Circuito establecié inequivocamente fa existencia de legitimacidn activa
de fester al determinar:

Panaderia Espafia contends that, as testers, appellants are unable to establish
an injury because their only motivation in visiting the bakery was to detect
ADA violations.

We have not previously addressed the impact of a plaintiff's status as a “tester”
on her ability to establish standing under the ADA. However, the circuits that
have considered this issue have uniformly concluded that an individual's
"tester" status does not defeat standing. As the Eleventh Circuit explained in
Houston v. Marod Supermarkets, Inc., the ADA guarantees the right of any
individual to be free from "disability discrimination in the enjoyment of
[public places of accommodation] regardless of [the individual's] motive for
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visiting the facility." 733 F.3d at 1332. Congress did not limit the protections
of the ADA to “clients or customers" or otherwise impose a bona fide visitor
requirement. Hd. at 1332-34 (contrasting 42 U.S.C. §§ 3604{a), and
12182(b)()(A}iv), which do contain such requirements). Hence, such
limitations should not be read into the ADA. fd. We agree with this analysis.
Accordingly, we conclude that appeliants' status as testers does not defeat
standing.
Suarez-Torres y, Panaderia y Reposteria Espafia, Inc., No, 18-1618 (1st Cir. Feb. 17,
2021) (citas intemas omitidas) (énfasis nuestro).
16. Se incorpora y se hace formar parte de esta demanda el ANEJO A, es una
alegacién suplementaria que es producto de una investigacién realizada por el sefior
Faustino Betancourt durante Ja ultima visita realizada a la Propiedad. Las imagenes
que se presentan a continuacion constatan el estado histérice de las instaiaciones del
estacionamiento y areas comunes de Plaza Caparra y una breve relacion causa-dafio.
17. Se incorpora y se hace formar parte de esta demanda ef ANEJO B, es una
alegacion suplementaria que es producto de ana investigacién realizada por el sefior
Faustino Betancourt durante la Gltima visita realizada a la Propiedad. Las imagenes
que se presentan a continuacién constatan el estado histérico de las instalaciones de
Supermax en una primera seccién de este establecimiento comercial ubicado dentro
de Plaza Caparra y una breve relacién causa-dafio.
I&. Se incorpora y se hace formar parte de esta demanda el ANEJO C, es una
alegacion suplementaria que es producto de una Investigacion realizada por el sefior
Faustino Betancourt durante fa dltima visita realizada a la Propiedad. Las imdgenes
que se presentan a continuacién constatan el estado histérico de las instalaciones de
Supermax en tna segunda seccidn de este establecimiento comercial ubicado dentro
de Plaza Caparra y una breve relacién causa-dafio.
19. Se incorpora y se hace formar parte de esta demanda el ANEJO D, es una
alegacion suplementaria que es producto de una investigacién realizada por el sefior
Faustino Betancourt durante fa ultima visita realizada a ia Propiedad. Las imagenes

que se presentan a continuacién constatan el estado histérico de las instalaciones de
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los baiios de Supermax, que como ya se menciono es un establecimiento comercial
ubicado dentro de Plaza Caparra y una breve relactén causa-dafo.
20. Ademdéas se incorpora y se hace formar parte de esta demanda el ANEJO KE,
es una alegacion adicional dentro de la cual adjunto documento oficial expedido por
El Departamento de Transportacién y Obras Publicas del Gobierno de Puerto Rico
(DTOP), que acredifa al sefior Faustino Betancourt como beneficiario de fos
privilegios otorgados a las personas con discapacidad, tanto para el estacionamiento,
descuentos, filas expresas designadas para los discapacitados, entre otros.
21. Hn su capacidad de cliente bona fide, [a Parte Peticionaria se ha sentido, y se
siente al dia de hoy, disuadida o desalentada de visttar la Propiedad porque tiene
conocimiento de las barreras ilegales que limitan e interfieren con su acceso a la
Propiedad. La Parte Peticionaria sabe que seria intitil enfrentar estas barreras porque
enfrentarlas equivale a someterse a una situacién humillante, discriminatoria y
peligrosa. Todas barreras aqui descritas estén directamente relacionadas con la
discapacidad de la Parte Peticionaria e interfieren su completo y acceso igual acceso.
No obstfante, a pesar de sentirse disuadida, tiene la intencién de regresar para buscar,
identiticar y denunciar el discrimen que existe en esa Propiedad.
22. A base de sus observaciones personales, y a base de su experiencia coma
persona con limitaciones que ha visto cientos de lugares accesibles y no accesibles
a través de su vida, la Parte Peticionaria alega afirmativamente que existen las
siguientes barreras arquitectOnicas de disefio en la Propiedad relacionadas a su
discapacidad y sus limitaciones de movilidad:
PLAZA CAPARRA
Acceso Desde Afuera de la Propiedad:
Estacionamiento, Ruta de Acceso y Entrada

a} En cuanto a estacionamientos, no hay el nimero requerido de

estactonamientos accesibles. ADAAG 1991 § 4.1.2; ADAAG 2010 § 208.2.

Posibies soluciones: reconfigurar el estacionamiento mediante fa utilizacién
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de pintura.

b) EE estacionamiento no recibe un mantenimiento adecuado para que se
mantenga en "condicién operable” en violacién a 28 C.F.R. § 36.21 I{a). Por
ejemplo, el mantenimiento del area de estacionamiento ha sido pobre,
inconsistente y en incumplimiento con la reglamentacién aplicable.

c) En cuanto a estacionamientos, no se cumple el requisite de que al menos un
estacionamiento que cumpla con las especiticaciones técnicas y dimensiones
de la categoria “van"* ADAAG 1991 § 412 (b); ADAAG 2010 §
208.2. Tampoco se cumple con ei requisito de que una sexta parte de los
estacionamientos accesibles tengan las dimensiones de categoria “van". Id.
Posibles soluciones: reconfigurar el estacionamiento mediante la utilizacion
de pintura. |

d) La configuracién y dimensiones de los estacionamientos accesibles es
susiancialmente inconsistente con los requisitos de reglamentacion aplicable.
ADAAG 2010 § 502.2, 502.3. Posibles soluciones: reconfigurar el
estacionamiento mediante la ulilizacién de pintura. 3

e) La contiguracién y dimensiones de los espacios adyacentes a los
estacionamientos es sustancialmente inconsistente con los requisitos de fa
reglamentacién aplicable. ADAAG 2010 § 502.2, 5023., 503.3.3. Posibles
soluciones: reconfigurar el estacionamiento mediants la utilizacién de pintura.

f) Los espacios adyacentes a los estacionamientos no conectan con una ruta
accesible. ADAAG 2010 § 502.3. Posibles soluciones: reconfigurar jos
estacionamientos de forrna tal que el pasillo accesible (access aisle) conecte

con la ruta accesible.

* La ADAAG ni la legislactén estatal requiere que una persona con discapacidades tenga una van
© camioneta para estacionarse en dichos estacionarmientos clasificados por la ADAAG como
"Van". Tiene que haber, y se tiene derecho a utilizar, todos Jos eslacionamientoas acecsibles que
requiere la ADAAG.
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g) EI} posicionamiento de la rotulacién de fos estacionamientos es
sustancialimente inconsistente con ja reglamentacién aplicable, ADAAG 2010
§ 502.6. Posibles soluciones: colocar rotulacién a fa altura y en la posicién
requerida por la reglamentacién.

hj La entrada no cumple con los requisitos de la reglamentacién aplicable. En
cuanto a las entradas que no son accesibles, estas no tHenen letreros que
indiquen Ja ubicacién de la entrada accesible. ADAAG 2010 § 216.6 Hay
entradas accesibles y no accesibles, pero las entradas accesibles no tienen el
simbolo internacional de impedido identificandolas. ADAAG 2010 § 216.6.
Posibles soluciones: hacer todas las entradas accesibles y/o colocar la
rotulacion requerida por la reglamentacion aplicable.

- SUPERMAX
Acceso Adentro de la Propiedad: Acceso a Bicnes y Servicios

i) Hay mostradores de servicios, pero ta configuraci6n y dimensiones son
sustancialmente inconsistentes con la reglamentacién aplicable. ADAAG
1991 § 7.2 ADAAG 2010 §§ 904.3.1 (requiriendo que haya una porcidn del
mostrador que sea 36" de alto por 36" de ancho), 904.4 (requiriendo que la
parte accesible del counter sea de Ja misma profundidad que la parte no
accesible), 904.4, 904.1 (requiriendo un espacio minimo para acercamiento
paralelo u horizontal al mostrador), 306.2.2, 306,2.4, 306.3.1 (requiriendo un
espacio debajo del mostrador cuando el disefio del mostrador es para
acercamiento frontal). Posibles soluciones: bajar una seccién del mostrador,
ampliar una seccién del mostrador, remplazar el mostrador, ampliar la
profundidad del mostrador, reconfigurar espacios para permitir acercamiento
paralelo o frontal, reconfigurar mostrador para dar el espacio requerido debajo
del mostrador en casos de disefio para acercamiento frontal.

Acceso a Bafie de Supermax

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Dd Los bafios que no son accesibles carecen de la retulacién que exige la
reglamentaci6n aplicable. ADAAG 2010 §216.8, 206.24. — Posibles
soluciones: colocar la rotulacién a la altura y en el posicionamiento correcta,
Noatese que Ja rotulacién debe cumplir ademas con los requisites para que sea
accesible a las personas con discapacidades visuales,

k) Se provee un bafio para una persona @ la vez, y la puerta abre hacia
adentro del cuarte, pero el drea adyacente al inodoro no tiene el espacio de
30" x 48" adyacente a la puerta’ ADAAG 2010 § 603.23.  Posibles
soluctones: modificar fa puerta para que abra hacia afuera (si ello puede
hacerse sin viclar otras reglamentaciones); amphar el espacio interior del
bafia; reposicionar los objetos del] bafie; reconfigurar el bafio para proveer el
méxime espacio posible,

1) En cuanto al javamanos, ei espacio alrededor del iavamanas es
sustancialmente inconsistente con la reglamentacién aplicable. ADAAG 2010
§ 606.2. Posibles soluciones: ampliar el espacio alrededor del lavamanos;
reubicar objetos que se pueden mover.

m) En cuanto at lavamanos, la parte de abajo dei lavamanos no esta configurada
para evitar ei contacto con los objetos que estan debajo del lavamanos.
ADAAG 2010 § 605.5. Posibles soluciones: modificar el area debajo del
lavamanos para que no haya contacto entre piernas o rodillas y los objetos que
estan debajo del lavamanos.

ny En cuanto a los pasamanes alrededor del inodoro, tanto al lado ("side grab
bar") como detras ("rear grab bar") del inodoro, la configuracién existente en
la pared al lado y detrds del inodoro es sustancialmente inconsistente con la
reglamentacién aplicable a los pasamanos. ADAAG 2010 §§ 604.5.1, 609.4.,
609.3, 604.5.2, 609.4, 609.6. Posibles soluciones: colocar y posicionar

pasamanos de manera consistenle con la reglamentacién citada.

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o} En cuanto al érea de! inodoro, e} posicionamiento del dispensador de papel
de inadora, asi come el papel de inodore, es sustancialmente inconsistente
con la reglamentacién aplicable. ADAAG 2010 §§ 604.7, 604.7, 604.7.
Posibles soluciones: reconfigurar la posicién det dispensador de papel y papel.
23. Las barreras identificadas en el parrafo anterior son solo aquetlas que la Parte
Peticionaria conoce personalmente a base de su experiencia y sentido comin como
persona con discapacidades, no a base de pruebas cientificas 0 periciales. La
totalidad de fas barreras existentes en la Propiedad, incluyendo las encontradas y
olras no descubjertas al momento, son fa causa del daiio legal de la Parte
Peticionaria, es decir, la falta de acceso completo, libre y espontaneo a la Propiedad.
Por esto, es ja intencién de la Parte Peticionaria utilizar los mecanismos de
deseubrimiento de prueba para buscar, identificar y sefialar todas aquellas barreras
arquitecténicas relacionadas con la discapacidad de la Parte Peticionaria para que el
acceso a la Propiedad sea completo e igualitario. Luego de identificadas las barreras,
la Parte Peticionaria se propone solicitar al tribunal enmendar las alegaciones para
conformar las mismas a la prueba descubierta sobre violaciones a la ADAAG ahora
desconocidas.
24. La Parte Peticionaria se ha visto desalentada, y al presente se siente
desalentada, de visitar la Propiedad porque la Parte Peticionaria sabe que los bienes,
servicios, acomodos, privilegios, ventajas y facilidades de la Propiedad no puede ser
accedidas sin que la Parte Peticionaria se someta nuevamente al discrimen, La Parle
Peticionaria conoce los bienes y servicios ofrecidos en la Propiedad, y regresara a la
Propiedad una vez que se eliminan las barreras.
25. Los peticionados sabian, o debian saber, que fa Propiedad era y es inaccesible:
que las condiciones la Propiedad violan la ley federal e interfieren (o niegan) el
acceso a los discapacitados. Ademas, los peticionados tienen los recursos financieros

para eliminar estas barreras de la Propiedad (sin mucha dificultad o gasto), y hacer

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que la Propiedad sea accesible para fa Parte Peticionaria. Hasta la fecha, sin
embargo, la Parte Peticionada se niega a eliminar esas barreras.

26. La Parte Peticionada ha poseido y disfrutado de suficiente control y autoridad
para modificar la Propiedad para eliminar barreras y cumplir con la reglamentacién
federal apticable. La Parte Peticionada no ha eliminado tales barreras y no ha
modificado la Propiedad para cumplir con los esténdares de accesibilidad
aplicables. La Parte Peticionada, de manera infencional, ha mantenido la Propiedad
en su estado actual y se ha abstenido intencionalmente de alterar la Propiedad para
que cumpla con los esténdares de accesibilidad.

27. La Parte Peticionaria alega afirmativamente que la presencia continua de
barreras en la Propiedad es tan obvia y abierta que establece la intencidn
discriminatoria de la Parte Peticionada. La naturaleza de fas desviaciones a los
estandares federales no sugiere incumplimiento con la reglamentacién debido a mera
negligencia o un error humano. EI incumplimiento existente es tan sustancial que es
obvio para un observador casual de inteligencia promedio que no tiene pericia en los
estandares de disefio accesible o que no tiene experiencia con barreras
arquitectonicas por no tener una discapacidad. Fs a base de esto que la Parte
Peticionaria cree, y por tanto alega afirmativamente, que la intencién discriminatoria
incluye la negaliva consciente y ponderada de no adherirse a normas de construccion
relevantes; el menosprecio hacia los planos de construceién y permisos emitidos
para la Propiedad; la decision concienzuda de mantener el disefio arquitecidnico (tal
como existe actualmente) en la Propiedad; la decisién de no eliminar las barreras
arquitect6nicas mantenerla en estado de incumplimiento motivado por fines de
lucro. Se alega afirmativamente que la Parte Peticionada ha queride mantener una
competencia desleal con sus competidores al no invertir dinero en cumplir con el
mandato federal a pesar de que sus competidores si tienen que invertir en

cumplimiento, jo que afecta a otros actores econdémicos. Las  barreras

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arquitectonicas en la Propiedad no son interrupciones aisladas (o temporales) de
acceso por mantenimiento o reparaciones.

28. Basado en el incumplimiento histérico de la Parte Peticionada con la
ADAAG, la Parte Peticionaria cree, y por lo tanto alega, que la Parte Peticionada no
tiene politicas, procedimientos o documentos internos en relacién a esfuerzos de
cumplimiento de ADA en la Propiedad.

PRIMERA CAUSA DE ACCION
American with Disabilities Act de 1990

29. La Parte Peticionaria incorpora las alegaciones contenidas en los
parrafos anteriores.

30. EI Titulo HI de la ley ADA dispone esencialmente que ningdin individuo
sera tratado de manera desigual por razon de discapacidad en el pleno
y equitativo disfrute (o usc) de bienes, servicios, inslalaciones,
privilegios y acomodos ofrecidos por cualquier persona ya sea titular,
arrendadar, arrendatario u operador de un lugar de acomodo publico. 42
ULS.C. § 12182 (a).

31. La Parte Peticionada discriminé contra Ja Parte Peticionaria al negarle
un disfrute y acceso pleno e igual a los bienes, servicios, privilegios y
acomodos de la Propiedad durante cada visita y cada ocasién en que la
Parte Peticionaria decidié no visitar et lugar.

32. La Ley ADA establece diferentes estandares dependiendo de cuando se
construy6 la estructura fisica y si la instalacién ha sido alterada desde
el 26 de enero de 1992, 28 CFR §§ 36.401, 36.402. Las propiedades
“existentes" antes del 26 de enero de 1992 tienen que eliminar las
barreras de acceso de las personas con discapacidades cuando la
eliminacién sea "facilmente alcanzable", 42 U.S.C. § 12182 (b) (2) (A)

(iv); 28 CFR § 36.304. Estructuras disefiadas y construtdas para ser

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ocupadas por primera vez después de! 26 de enero de 1993 deben ser
accesibles para personas con discapacidades a menos que la entidad
pueda demostrar que es "estructuralmente poco practico". 42 USC §
12183 (a). Finalmente, las alteraciones posteriores al 26 de enero, 1992
debe hacerse para garantizar que, en la "maxima extensidn posible", las
porciones alteradas de las inslalaciones sean accesibles, 28 CFR §
36.402 (a) (1).

33. Los estandares de disefio, ADAAG, se publicaron por primera vez en
1991 y estan codificados en 28 CFR Parte 36, Apéndice A (ADAAG
de 1991"). Los mas recientes esténdares de disefio ADA fueron
publicado por primera vez en 2010 y se codificaron en 28 CFR Parte
36, Subparte D (La ADAAG de 2010). Ambas normas esfan
disponibles en www.ada.gov. Todas las construcciones nuevas y
modificaciones comenzadas el 15 de marzo de 2012 0 después deben
cumplir con la ADAAG de 2010.

34, La Parte Peticionaria cree que la Propiedad fue disefiada para ser ocupada
por primera vez después del 26 de enero de 1993. Ver 28 CFR § 36.401.

35, La Parte Peticionaria cree que la Propiedad est4 ubicada en un lugar que
fue constraide después del 26 de enero de 1993. Ver 28 CFR § 36.401.

36. La Parte Peticionaria cree que la Propiedad fue "alterada" luego del 26
de enero de 1993. El términe "alterada” o "alteraciones" incluye, pero
no se limita a, remodelacién, renovacian, rehabilitacién, restauracton
histérica, cambios o reordenanvento en partes o elementos
estructurales, cambios o reordenamiento en la configuracién de paredes
y cambios en los mostradores, mesas u objetos dentro de ta Propiedad.

37. En la alternativa, si la Propiedad no fue disefiada y construida para ser

ocupada por primera vez después de 26 de enero de 1993, la Proptedad

is
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es una instalacién existente en cuyo caso hay una obligacién de eliminar
barreras arquilecténicas que afectan a las personas con discapacidad en
la medida que la eliminacién sea “facilmente alcanzable”. 42 USC §
12182 (b) (2). La ley ADA establece que, al evaluar si la eliminacién

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de barreras es "ficilmente alcanzable “, fos factores a considerar
incluyen los" recursos “de Ja instalacién, 42 USC § 12188 (9) (b), que
incluye “los recursos financieros generales de cualquier empresa matriz
o entidad ", 28 CFR § 36.104. Si la Parte Peticionada sostiene que no
licne los recursos financieros a modo de defensa afirmativa para
excusar su incumplimiento, la Parte Pelicionaria no acepta dichos
pretextos y se propone utilizar los mecanismos de descubrimiento de
prueba conforme a 28 C.F.R. § 36.104,

NO ELIMINAR LAS BARRERAS EN UNA INSTALACION EXISTENTE

38. La ADA prohibe especificamente no eliminar las barreras
arquitecténicas en instalaciones existentes cuando tal eliminacién es
facilmente alcanzable. 42 USC § £2182 (b) (2) (A) (iv); 28 CLFLR. §
36,104.

39. Cuando una entidad puede demostrar que fa eliminacién de una barrera
no se puede lograr facilmente, esa entidad tiene que procurar que los
bienes, servicios, privilegios y acomodos se hagan disponibles
mediante mecanismos alternos, si estos métodos son ficilmente
alcanzables. § 12182 (b) (2) (A) (v).

AG. Aqui, la parte Peticionaria alega que la Parte Peticionada puede eliminar
ficilmente las barreras arquitecténicas en la Propiedad sin mucha
dificultad o gaste, y que la Parte Peticionada vicla la ley ADA al no
eliminar esas barreras, cuando facilmente podia y puede hacerlo.

Al, En ia alternativa, si no es “facilmente aleanzable" para la Parte

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Peticionada eliminar las barreras arquifecténicas, la Parte Peticionada
violé la ADA al no hacer disponibles sus servicios a través de mélodos

alternativos que fuesen facilmente alcanzables.

NO DISENAR ¥ CONSTRUIR
UNA INSTALACION ACCESIBLE

42. _ La Propiedad fue disefiada y construida (o ambos) después del 26 de
enero de 1992 - activando fos requisitos de acceso bajo el Titulo Ml de
ja ADA y la reglamentacién promulgada por el Departamento de
Justicia de los Estados Unidos.

43. La Parie Peticionada violé la ley ADA al diseftar y construir (a ambos)
la Propiedad en una manera que no era facilmente accesible para el
publico con discapacidad fisica, incluida la Parte Peticionaria, cuando
hacerlo era estructuralmente practico.

NO HACER ACCESIBLE UNA INSTALACION ALTERADA

44. La Parte Peticionaria cree, y por tanto alega afirmativamente, que la
Propiedad ha sido alterada (segtin el término "alteracién" es definido
por §§ 202.1, §202.3, 202.4) después del 26 de enero de 1992, 28 CFR
§36.403; 49 CFR §37.43.

45, La ADA también requiere que Jas instalaciones se alteren de forma tal
que sea facilmente accesible para las personas con discapacidad en la
inedida maxima posible, 42 U.S.C. § 12183 (a) (2),

A6. La Parte Peticionada alteré la Propiedad de una manera que viold la ADA
y que la hizo no facilmente accesible al pubblico con diseapacidad fisica,
imeluyendo a fa Parte Peticionaria.

BARRERAS NO ESTRUCTURALES:
POLITICAS Y PROCEDIMIENTOS

47. La ley ADA también requiere hacer modificaciones razonables en las

politicas, practicas o procedimientos, cuando es necesario para dar igual

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acceso a los servicios, bienes, privilegios o acomodos a las personas
con discapacidades, a menos que la entidad pueda demostrar que hacer
tales modificaciones alterarfan fundamentalmente su naturaleza. 42
USC § £2182 (b) (2) CA} (i).

48. Aqui, la Parte Peticionada violé la ley ADA al no hacer modificaciones
razonables en sus politicas, pricticas o procedimientos en la Propiedad,
cuando estas modificaciones son necesarias para permitir (sin alterar
fundamentalmente la naturaleza del lugar de acomodo pablico) el igual
acceso a los bienes, servicios, instalactanes, o acomodos.

49. La Parte Peticionada alega que la falta de eliminacién de barreras ha
sido a sabiendas, voluntaria e intencional porque:

i, Las barreras deseritas aqui son claramente visibles y tienden a ser
obvias incluso a un observador casual;

ii. La Parte Peticionada jams ha reconocido que el cumplimiento de ADA
ho es un esfuerzo de una sola vez, sine una obligacién corfinua. Se han
negado a eliminar barreras o crear alternativas para dar acceso;

tii, La Parte Peticionada es titular, arrendador, arrendatario y/o operador de
la Propiedad, y como tal tiene contro! sobre las condiciones de la misma
dia a dia, La Parte Peticionada ha tenido los medios y la capacidad
financiera de hacer la remediacién necesaria de las barreras de acceso,
pero eso nunca le ha interesado.

iv. Los fugares de acomodo poblico tienen la obligacién de ser accesibles.
Existe una consecuencia si no lo hacen: se puede ser objeto de un
procedimiento civil, ya sea iniciade por el gobierno federal, estatal o
una persona privada, La Parte Peticionada decidid no ser proactiva y
para proporcionar acceso por iniciativa propia. La Parte Peticionada

asumié una actitud que se puede describir como “vamos a esperar, no

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hagamos nada, resolvemos si pasa algo", La ley ADA se firmd el 26 de
julie de 1990 por el entonces presidente George H.W. Bush luego de
que fuese aprobada mediante consenso bipartita. La Parte Peticionada
no tiene excusas para haber evadido sus obligaciones legales, y
fampoco el desconocimiento de la ley excusa sus consecuencias y
cumplimiento.

v. La Parte Peticionada ignora las experiencias de las personas con
discapacidades que no pueden comprar, realizar transacciones
comerciales personales, visitar al médico o recrearse como la mayoria
de las personas. Son muchos los lugares en todo Puerto Rico, como en
la Propiedad de la Parte Peticionada, donde se han ignorado los
requisitos razonables de la ley ADA. La ley ADA tiene la capacidad de
hacer fa diferencia entre la participacion y la exclusidn diaria.

vi. La Parte Peticionada también ignora sus propias experiencias en otros
lugares de acomodo pitblico. Esto es, la Parte Peticionada ha visto que
en otros lugares existen estacionamientos accesibles, bafios accesibles,
mostradores accesibles y muchos clementos mas en cumplimiento, por
lo que tenfa y tiene conocimiento de cudles son los accesos que se deben
dar a las personas con discapacidades.

vil. La Parte Peticionada sabe que fos permisos administrativos estatales y
municipales no equivaten a cumplimiento con las leyes de accesibilidad
aplicables. La Parte Peticionaria cree, y por tanto alguna, que algunos
de los permisos municipales y estatales que tiene la Parte Peticionada
para operar su lugar de acomodo publico sefialan expresamente que el
permiso para operar el negocio no equivale a una certificacién de
cumplimiento con la ley ADA.

viii. Se cree, y por tanta se alega, que existen certificaciones de arquitectos,

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ingenieros, contratistas, gestores y empleados de gobierno donde se
certificd de manera contraria a la realidad (potencialmente fraudulenta,
sujeto a investigacién y descubrimiento de prueba) que la propiedad
cumplia con fa reglamentacién de la ley ADA con el propdésita de
disefiar, construir, alterar u operar la Propiedad en controversia en
violacion a la reglamentacién federal. La Parte Peticionada no puede
ampararse en actos impropios suyos o de terceros para justificar la
operacién continua de un fugar de acomodo publico que viola fa
reglamentacion federal aplicable.

ix. La Parte Peticionada no tiene obligacién de dar una notificacion por
escrito de la falta de accesibilidad. Ninguna otra ley de derechos civiles
permite que los comercios y lugares de acomodo publico discriminen
sin consecuencia hasta que las victimas de la discriminacién notifiquen
al negocio que se ha violado Ja ley, Si fuese un requisito dar
“notificacion" a la persona que viola derechos civiles, los lugares de
acomédo pliblico no serfan proactivos en la eliminacidn de las barreras
arquitectonicas, En su lugar, muchos asumirfan una actitud de “mejor
espero y resuelvo si alguien dice y prueba que me dio aviso de lo que
es obvio que est4 mal". La ADA no coloca el peso de actuar en las
personas con discapacidades que la ley busca proteger; el deber de ser
proactivo lo tiene el lugar de acomodo piblico. Si fuese un requisito
dar avisos al establecimiento, el costo de dar el aviso y probar que se
dio ef aviso va a recaer sobre fa persona con discapacidades, quienes
usualmente ya tienen capacidad financiera limitada. Por ejemplo, un
aviso escrito por un lego probablemente resulte en una litigacién
extensiva y controversia de hecho sobre si ese aviso realmente se

entregé a una persona con autoridad (como si fuese un emplazamiento),

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si se envid por correo a fa direccién correcta (en un contexto donde
muchos comercios operan de manera informal y sin divecciones
postales) 0 controversias sobre si realmente se envid el escrito
(forzando al discapacitado a asumir el costo de envio de cartas por
correo certificado) o controversias interminables sobre si el aviso fue
suficiente, especifico o completo. Los discapacilados encuentran
multiples barreras diariamente o no van a lugares porque saben que no
son accesibles (contrario a una persona que no suffe accidentes de
transito todos los dias), de modo que los discapacitados, bajo el enfoque
de dar “avisos” tendrian que invertir mucho dinero en enviar carta por
correo certificado o entregar a la mano a persona con autoridad estos
avisos. Requerir avisos evitaria que el tribunal se concentre en la
sustancia del mandato federal, accesibilidad, y pondria escollos
procesales al ejercicio de los derechos.

x. Establecer y administrar un negocio requiere cumplimiento de muchas
leyes y normas. Ese es el costo de hacer negocios. Quien decide operar
un lugar de acomodo ptblico, tiene que cumplir con las leyes aplicables
desde el dia uno. Actia de manera a sus propios actos quien decide
operar un jugar de acomodo ptblico que desde el dia uno excluye o
limita el acceso a las personas con diseapacidades. Es impensable que
se busque retrasar (mediante requerir "avisos") o eliminen las
consecuencias para las pequefias o grandes empresas que no paguen
impuestos o no cumplan con fos céddigos de salubridad y
seguridad. Violar los derechos de las personas con discapacidad no
debe tratarse de manera diferente. También es inaceptable que se
requiera cumplimiento a las "grandes" empresas y no a las medianas o

pequeiias (o viceversa) o que se requiera cumplimiento dependiente dei

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lugar de incorporacién de ta compaiiia o dependiendo del originen
nacional o raza de fos duefios o accionista de la compania o empresa.
xi. Hay grandes esfuerzos federales para educar a los dueBos de negocios
sobre sus obligaciones de la ADA, incluido el sitio web detallado del
Departamento de Justicia de los Estados Unides sobre cumplimiento
con ADA (ada.gov), la jinea directa del Departamento de Justicia,
materiales de asistencia técnica extensa del Departamento de Justicia y
los diez centros regionales ADA financiados por el gobierno federal
gue proporcionan recursos a profundidad y capacitacién en tados los
estados ( adata.org ). Sin embargo, la Parle Peticionada no ha hecho
ningun esfuerzo significative y proactive para cumplir con la ADA.
xii. A base del incumplimiento histérico y nivel de incumplimiento, se cree
que la Parte Peticionada jamaés ha reconocido que los esténdares de
accesibilidad de ADA son exiremadamente importantes. No son
detalies menores o reglas exigentes, sino mas bien, son esenciales para
garantizar la verdadera accesibilidad. Una puerta que es demasiado
estrecha puede ser la diferencia entre acceder a un negocio o no. Un
bafio con un espacio muy pequeiio puede hacer la diferencia entre usar
o no un bafio, Dicho esto, es importante sefialar que para imponer
responsabilidad bajo la ley ADA, la barrera no necesila excluir
completamente a la Parte Petlicionaria de entrar o usar la
instalacidn; solo necesita interferir con el disfrute pleno e igual de la
Parte Peticionaria. La ADAAG establece estandares técmcos
requeridos para que haya un "disfrute pleno e igualitario". Por eso, si
una barrera viola el ADAAG y dicha barrera se relaciona con la
discapacidad de la Parte Peticionatia, ef igual y completo acceso se ve

menoscabado, lo que consfituye discrimimacion bajo la ADA.

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xii. Se sabe que las personas con discapacidad experimentan una pérdida
de dignidad, independencia, personalidad y orgullo asociados con la
segregacion y la falta de acceso a alojamientos piblicos. Beyond the
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H., Jorge E. Fresneda, and Rolph E. Anderson. What Retailers Need To
Understand About Website Inaccessibility And Disabled Consumers:

Challenges And Opportunities. Journal of Consumer Affairs.

 

xiv. La Parte Peticionaria rechaza con vehemencia argumentos de que hacer
valer la ley ADA de manera privada es ilegitima. La ley debe cumplirse
independientemente que el lugar de acomodo piblico sea una entidad
pequefia, mediana o prande. La Ley ADA no permite discriminar a unos
si y a otros no. La prohibicién de discriminen es absoluta y aplica a
todos por igual. No se hace distincién por origen social, nacional,
ciudadania o residencia legal de quien opera un /ugar de acomado
publico, sea una persona natural o juridica. Cumplir con tos estandares
de accesibilidad fisica de la ADA requiere que los duefios de negacias
tomen medidas proactivas y, a menudo, incurrir en
costes. Desafortunadamente, en este caso, la ley nila posibilidad de ser
objeto de una accién civil (de parte dei gobierno o privada) fue
suficiente incentive para que se diera un cumplimiento voluntario. La
ADA no fue suliciente para convencer a la Parte Peticionada a cumphir
con la ley y el objetivo de esta Peticién es procurar que finalmente se
cumpla el mandato de ley.

SEGUNDA CAUSA DE ACCION
REHABILITATION ACT DE 1973
(Seccién 504, 29 U.S.C. § 701 et seq.)

50. Se incorporan todos los parrafos anteriores por referencia.

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$1. La Seccién 504 dispone: "No otherwise qualified individual with a
disability in the United States... shall, solely by reason of her or his
disability, be excluded from the participation in, be denied the benefits
of, or be subjected to discrimination under any pregram or activity
receiving Federal financial assistance . . .." 29 U.S.C. § 794{a).

22. La Parte Peticionaria es una persona elegible para recibir los beneficios
y servicios que se hacen disponibles al piblico en la Propiedad.

§3. EI CARES Act autoriza a la Small Business Administration (SBA) a
proveer asistencia econémica temporera a organizaciones elegibles.
Especificamente, la Seccidn 1102 del CARES Act establecid el
programa conocido como Paycheck Protection Program (PPP), que
amplié la autoridad de SBA para garantizar prestamos bajo la seccién
7(a} det Small Business Act. La Seecién 1110 del CARES Act amplid
asu vez la autoridad de SBA para distribuir prestamos conocidos como
Injury Disaster Loans (EIDL) bajo fa Seccién 7(b)(2) del Small
Business Act. En resumen, esto significa que se pueden tomar un
préstamo que luego no se tiene que repagar.

54. Por supuesto, el recibo directo de fondos federales supone unas
obligaciones para los beneficiarios. Por ejemplos, multiples Ieyes de
derechos civiles imponen obligaciones a las personas que reciben
fondos federaies, Entre etlas, el Titulo VI de la Ley de Derechos Civiles
de 1964 y, en lo aqui relevante, la Seccién 504 del Rehabilitation Act,
que prohibe el discrimen por razén de discapacidad. De igual manera,
la reglamentacién de la SBA también Ie prohibe a entidades que reciben
fondos federales discriminar a base de ciertas categorias protegidas,
incluyendo “handicap” o impedimento. 13 C.F.R. Seccién 112 que

implementa el titulo Vi; 13 C.F.R. Seccién 117, que implementa la Age

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Discrimination Act; of 13 C.F.R. Seccién #13, Subparte A. Por
mandato reglamentario, las entidades que reciben fondos federales
lienen una obligacién de mantener récords y producir reportes de
cumplimiento con estos requisitos cuando elio sea solicitado; deben
también permitir el acceso a estos récords y a las facilidades. Las
personas también pueden hacer querellas con la SBA, y si la
investigacin refleja incumplimiento con los requerimientos aplicables,
la SBA puede suspender los beneficios, acelerar el repapo de la deuda

o requerir la devolucién de los fondos federales.

aI
w

La Parte Demandante es una persona protegida por la Seccion 504 ya
que es una persona sustancialmente limitada en su capacidad de
movimiento al presente y también para eso del 29 de julio de 2020 y
para eso del 21 de enero de 2020.

56. Durante el pasado afto, y al presente, la Parte Demmandada y la Propiedad
recibid fondos federales como parte de sus programas y actividades.
Estos fondos federales, entre otros, a base de los fondos del CARES
Act y el PPP antes discutidos. Se cree, y sera objeto de descubrimiento
de prueba, que también se han recibido fondos federales de otras filentes
y programas federales.

57, Durante los pasados cuatro afios, y también durante el pasado afio, la
Parte Peticionada y la Propiedad, operé un programa o actividad
cubierto por la Rehabilitation Act y también recibié fondos federales
como parte de sus programas y actividades.

58. La conducta de la Parte Peticionada descrita en esta alegacin viold los

derechos de la Parte Peticionaria bajo la Rehabilitation Act al excluir a

la Parte Demandante o negarle beneficios solamente por razon de su

discapacidad.

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59. La conducta de la Parte Peticionada demuestra una indiferencia
deliberada hacia fos derechos de la Parte Demandanie porque la Parte
Demandada sabia o debia saber de sus obligaciones legales bajo la
legislacion federal, mas ignoré las misma de manera consciente,

60. La Parte Peticionaria sufrié angustia emocional y daiios debido a la
violacion de la Rehabilitation Act por parte de la Parte Demandada.

61. De conformidad con la Seccién 505 de la Rehabilitation Act, la Parte
Demandante tienen derecho a una compensacidn por sus dafios, castas,
gastos de litigio y honorarios de ahogado.

62. Conforme a lo resulto por el Tribunal Supreme de los Estados Unidos
en Ucveghunam v. Preesewski, 592 U.S. (2021), 2021 WL 850106
(March 8, 2021),° se solicita la imposicién de dafios nominales, En
Uzuegbunam, se le prohibié a un estudiante predicar en el campus de la
Universidad de Georgia cuando este era estudiante. En una decision de
8-1 en Csveghtinam, el Tribunal Supremo de los Estados Unidos
concluyé que Chike Uzuegbunam podia reclamar dafios nominates al
Georgia Gwinnett College, aun cuando la universidad cambidé su
polltica discriminatoria en respuesta a la accion civil incoada por este.
E] juez Clarence Thomas fue el autor de la opinién mayoritaria y los
jucces Samuel Alito, Stephen Breyer, Amy Coney Barrett, Neil
Gorsuch, Elena Kagan, Brett Kavanaugh y Sonia Sotomayor también
sé unieron a la opini6n mayoritaria, que puso fin a la practica de
“tactical mootness” en el contexto de las causas de accién federal. Esta
practica cansiste en alegar que una violacién de derechos se ha tornado

académica con el fin luego solicitar la desestimacidn de la totalidad de

* Ver hips://www.supremecourt gov/opinions/20pdt/ 19-968 &nj9 pdt

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la demanda. Si bien un reclamo de interdicte puede tornarse académico
si se cumplen todos los requisitos de la doctrina y sus excepciones, el
reclamo de todas maneras puede quedarse vivo mediante un reclamo de
dafios nominales. Los dafios nominales representan una victoria
concreta para ef reclamante y sirven ademas como base para determinar
quién es la parte prevaleciente en el procedimiento civil, En este caso,
se solicita la imposicién de daiios nominales bajo la (i) ADA y (ii) bajo
la Rehabilitation Act.
REMEDIO
POR FODO LO CUAL, la Parte Peticionaria muy respetuosamente solicita los
siguientes remedios legales:

A. Una sentencia declaratoria disponiendo que la parte Peticionada ha violado
los requisitos de la Rehabilitation Act de 1973 y el Titulo I de la ADA y
la reglamentacién de implementacion relevante de la ADA; y que la
Propiedad no es completamente accesible y utilizable de manera
independiente para personas con movilidad limitada como la Parte
Peticionaria:

B. —_Un interdicto estatuario permanente de conformidad con 42 USC § 12188
(a) (2) y 28 CFR § 36.504 (a) que ordene a fa Parte Peticionada a que tome
todos los pasos necesarios para eliminar fas barreras arquilecténicas
descritas anteriormente y para que sus instalaciones cumplan con los
requisitos establecidos en la ADA y sus reglamentos de implementacion,
pata que sus instalaciones sean totalmente accesibles a, y de forma
independiente, por personas con movilidad limitada, y que ademis ordene
que el tribunal retendra jurisdiccién por un periodo para supervisar que la
Parte Pelicionada cumpla con los requisitos relevantes de la ADA y para

asegurarse de que Ja Parte Peticionada haya adoptado y siga una politica

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institucional que de hecho haga que la Parte Peticionada permanezca
totalmente en cumplimiento con la ley;

Cc. En caso de que la Parte Peticionada continve su condicién discriminatoria,
se solicila de conformidad con 42 USC § 12188 (a) (2) y 28 CFR § 36.504
que se ordene el cierre y clausura de la Propiedad como medida para
detener la condicién discriminatoria hasta tanto fa Parte Peticionada haya
acreditado de manera fehaciente a satisfaccién del tribunal que se ha
eliminado el discrimen;

D. —_ Dafios compensatorios al amparo de la Rehabilitation Act.

E. _ Datios nominales al amparo de la Rehabilitation Act y la ADA, segtin
resulto Uzvegbunam v. Preczewski, 592 U.S. (2021):

F, Pago de los costos de la accion y gastos de litigio, de conformidad con 42
USC & 12205;

G. Pago de honorarios razonables de abogados to bajo las Reglas de
Procedimiento Civil de Puerto Rico, sino de conformidad con lo dispuesto
en 42 U.S.C. § 12205 y 28 CFR § 36,505 y su jurisprudencia vinculante
interpretativa y;

H. La provision de cualquier otro remedio que sea justo y propio.

SOMETIDO RESPETUQSAMENTE.

Hoy 25 de mayo de 2021

fiJosé Carlos Vélez Colén

LIC. JOSE CARLOS VELEZ COLON
R.ULA, NUM.: 18913
JVELEZ@VELEZLAWGROUP.COM

421 AVE MUNOZ RIVERA #205
SAN JUAN, PR 00918

TEL.: (787) 599-9003
FAX: N/A

Abogado de la Parte Peticionaria

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ANEJO A

El Anejo Aes una alegacién suplementaria que es producto de una investigacién
realizada por el seflor Faustino Betancourt durante su fltima visita a la

Propiedad.

Las imagenes que se presentan a conlinuacién constatan el estado histérico de
las instalaciones del estacionamfento y dreas comunes de Plaza Caparra.

Cada imagen tiene al pic una referencia a la direccién aproximada de la barrera,
sus coordenadas aproximadas, una descripeidn de lo que muestra la imagen, asi
como una descripcién sobre porque estas condiciones constituyen violaciones a
la ley ADA,

Cada uno de los aspectos aqui sefialados esté en controversia.

Las imagenes son a su vez una muestra representativa del estado en el que se
encuentran las instalaciones del estacionamiento y areas comunes de Plaza
Caparra,

En esie procedimiento civil, estan en controversia todas las instalaciones de
Plaza Caparra que tienen una configuracién inconsistente con el derecho
aplicable.

- En primer lugar esta imagen da cuenta def lugar exacto donde se ubica fa
Propiedad Cuestionada:

   
  
   
 
   

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San Batinio Haga

  
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PLAZA CAPARRA
o Acceso Desde Afuera de la Propiedad: Estacionamiento, Ruta de Acceso
y Entrada

 

 

 

 

DIRECCION: Av. Franklin Delano Roosevelt, San
Juan, Guaynabo 009206, Puerto Rico
COORDENADAS: 18.41103207778588, -
66.1003 1609880998
DECRIPCION: En la imagen arriba se puede verificar

que los espacios adyacentes a los
eslacionamientos no conectan con
una ruta accesible.

BARRERAS Estas condiciones dificultarian la
ambulacion de una persona que
utilice silla de rueda, andador, bastén
oO que tenga dificultad de movilidad.
Obstruyendo el disfrute de los bienes
0 beneficios ofrecidos por ta
Propiedad.

 

 

 

 

 
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AV. Franklin Delano Roosevelt, Sait
Juan, Guaynabo 00920, Puerto Rica

DIRECCION:

 

 

COORDENADAS: 18.41103207778588, -
66.1003 1609880998
DECRIPCION: En Ja imagen arriba se puede verificar

que los estacionamientos accesibles
contienen barreras que dificultan el
acceso, ademas que esto da cuenta de
la mala configuracién de los
estacionamientos en general.
BARRERAS Estas condiciones dificultarian ta
ambulacién de wna persona que
utilice silla de rueda, andador, bastén
o que tenga dificultad de movilidad.
Obstruyendo el disfrute de los bienes
o beneficios ofrecidos por la
Propiedad.

 

 

 

 

 
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Av. Franklin Delano Roosevelt, San
Juan, Guaynabo 00920, Puerto Rico
COORDENADAS: 18.41103207778588, -

66.1003 1609880998

DECRIPCION: En la imagen arriba se puede verificar
que los espacios adyacentes a los
estacionamientos no conectan con
una ruta accesible, ademas que la
configuracién de los
estacionamientos es contraria a la ley
aplicable.

BARRERAS Estas condiciones dificultarian la
ambulacién de una persona que
utilice silla de rueda, andador, bastén
o que tenga dificultad de movilidad.
Obstruyendo el disfrute de los btenes
o beneficios ofrecidos por la
Propiedad.

DIRECCION:

 

 

 

 

 

 

 
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DIRECCION: Avy. Franklin Delano Roosevelt, San
Juan, Guaynabo 00920, Puerta Rico
COORDENADAS: 18.41103207778588, -
66.1003 1609880998
DECRIPCION: En la imagen arriba se puede verificar

que en la ruta de acceso hacia la
enirada accesible hay rampas cuya
pendiente es muy inclinada de manera
sustancialmente inconsistente con la
reglamentacién aplicable.
BARRERAS Estas condiciones dificultarian la
ambulaci6n de una persona que
utilice silla de rueda, andador, bastén
o que tenga dificultad de movilidad.
Obstruyendo el disfrute de los bienes
o beneficios offrecidos por ia
Propiedad.

 

 

 

 

 

 

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DIRECCION: Av. Franklin Delano Roosevelt, San

 

 

Juan, Guaynabo 00920, Puerto Rico
COORDENADAS: 18.41103207778588, -

66.1003 1609880998
DECRIPCION: En la imagen arriba se puede verificar

que los estacionamientos accesibles
contienen arboles y objetos que
dificultan el acceso, ademas que dan
cuenta de la mala configuracién de
ios establecimientos,

BARRERAS Estas condiciones dificultarian fa
ambulacién de una persona que
utilice silla de rneda, andador, bastén
o que tenga dificultad de movilidad.
Obstruyendo el disfrute de los bienes
o beneficios ofrecidos por la
Propiedad.

 

 

 

 

 

 

 
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DIRECCION: Av. Franklin Delano Roosevelt, San
Juan, Guaynabo 00920, Puerto Rico
COORDENADAS: 18.4] 103207778588, -
66.1003 1609880998
DECRIPCION: En la imagen arriba se puede verificar

que Jos estacionamientos lienen una
configuracién inadecuada, por lo cual
permiten una ruta de acceso con las
medidas que determina la ley
aplicable.

BARRERAS Estas condiciones dificultarian ta
ambulacién de una persona que
uttlice silla de rueda, andador, bastén
o que tenga dificultad de movilidad.
Obstruyendo el disfrute de los bienes
o beneficios ofrecidos por ta
Propiedad.

 

 

 

 

 
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DIRECCIO Av. Frankiin Delano Roosevelt, San

Juan, Guaynabo 00920, Puerto Rico

 

 

 

COORDENADAS: £8.41 103207778588, -
66.1003 1609880998
DECRIPCION: En la imagen arriba se puede verificar
que la configuracion del

estacionamiento es inadecuada ya que
los vehicufos se estacionan por ja ruta
de acceso, creando barreras dentro de
ia ruta de acceso.

BARRERAS Estas condiciones dificultarian la
ambulacion de na persona que
utilice silla de rueda, andador, bastan
o que tenga dificultad de movilidad.
Obstruyendo el disfrute de los bienes
o beneficios ofrecidos por la
Propiedad.

 

 

 

 

 
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DIRECCION: Av. Franklin Delano Roosevelt, San
Juan, Guaynabo 00920, Puerto Rico
COORDENADAS: 18.41103207778588, -
66.1003 1609886998
DECRIPCION: En Ia imagen arriba se puede verificar

que los estacionamientos accesibles
no contienen una demarcacién
adecuada y ademas no cuentan con
una ruta accessible.

BARRERAS Estas condiciones dificultarian fa
ambuylacién de una persona que
utilice silla de rueda, andador, bastén
o que tenga dificultad de movilidad.
Obstruyendo el disfrute de los bienes
o beneficios offecides por tla
Propiedad.

 

 

 

 

 
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DIRECCION: Av. Franklin Delano Roosevelt, San
Juan, Guaynabo 00920, Puerto Rico
COORDENADAS: 18.41 103207778588, -

66.1003 1609880998 7

En la imagen arriba se puede verificar
que en la ruta de acceso desde el
parqueadero hasta la Propiedad se
ubican  vehiculos — estacionados
abstaculizando el acceso.
BARRERAS Estas condiciones dificultarian la
ambulacién de una persona que
utilice silla de rueda, andador, bastén
o que tenga dificultad de movilidad.
Obstruyendo el disfrute de Jos bienes
o beneficios ofrecidos por la
Propiedad.

 

DECRIPCION:

 

 

 

 

 

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Av. Franklin Delano Roosevell, San

 

 

 

DIRECCIO

Juan, Guaynabo 00920, Puerto Rico
COORDENADAS: 18.41103207778588, -

66.1003 1609880998
DECRIPCION: En la imagen arriba se puede verificar

que los estacionamientos accesibles
para personas en condicién de
discapacidad contienen baches de
concrelo que  obstaculizan — el
parqueadero.

BARRERAS Estas condiciones dificultarian la
ambulacién de una persona que
utilice silla de rueda, andador, bastén
o que tenga dificultad de movihidad.
Obstruyendo el disfrute de los bienes
© beneficios ofrecidos por la
Propiedad.

 

 

 

 

 

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DIRECCION: Av. Franklin Delano Roosevelt, San
Juan, Guaynabo 00920, Puerto Rico
COORDENADAS: 18.41 103207778588, -
66.1003 1609880998
DECRIPCION: En la imagen arriba se puede verificar

que en cuanto a la ruta de acceso, en
la ruta desde su comienzo en los
estacionamientos hasta la entrada
accesible hay partes cuya inclinaci6n
es mayor a 1:20, pero la
configuraci6n fisica existente no
cumple con fos requisites aplicables a
las rampas de manera
sustancialmente inconsistente con fa
reglamentacién aplicable.

BARRERAS Estas condiciones dificultarian la
ambulacién de una persona que
utilice silla de rueda, andador, bastén
o que tenga dificultad de movilidad.
Obstruyendo el disfrute de los bienes
0 beneficios ofrecidos por la

Propiedad.

 

 

 

 

 

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Av. Franklin Delano Roosevelt, San
Juan, Guaynabo 00920, Puerto Rico

DIRECCIO

 

 

COORDENADAS: 18.41103207778588, -
66.1003 1609880998
DECRIPCION: En la imagen arriba se puede verificar

que fa ruta de acceso peatonal
conticne escaleras y obstdculos que
obstruyen el acceso, ademas que
carece de demarcacién conforme a la
ley aplicabie.

BARRERAS Estas condiciones dificultarian la
ambulacién de una persona que
utilice silla de rueda, andacor, bastén
o que tenga dificultad de movilidad.
Obstruyendo el disfrute de los bienes
oa beneficios ofrecidos por la
Propiedad,

 

 

 

 

 

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DIRECCION: Av. Franklin Delano Roosevelt, San
Juan, Guaynabo 00920, Puerto Rico
COORDENADAS: 18.41103207778588, -
66.1003 1609880998
DECRIPCION: En Ja imagen arriba se puede verificar

que fa ruta de acceso hacia la entrada
accesible desde los estacionamientos
no tiene 36" pulgadas de ancho.
BARRERAS Estas condiciones dificultarian la
ambulacién de una persona que
utilice silla de rueda, andador, bastén
o que tenga dificultad de movilidad.
Obstruyendo el distrute de los bienes
o beneficios ofrecidos por la
Propiedad.

 

 

 

 

 

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DIRECCION: Av. Franklin Delano Roosevelt, San
Juan, Guaynabo 00920, Puerto Rica
COGRDENADAS: 18.41103207778588, -
66.1003 1609886998
DECRIPCION: En la imagen arriba se puede verificar

que los espacios adyacentes a los
estacionamientos no coneclan con
una ruta accesible, ademas que en la
parte derecha se evidencia una rampa
con una ineiinacién mayor a la
establecida por la ley aplicable.
BARRERAS Estas condiciones dificultarian fa
ambulaci6n de una persona que
utilice silla de rueda, andador, bastén
© que tenga dificultad de movilidad,
Obstruyende el disfrute de los bienes
0 beneficios ofrecidos por la
Propiedad.

 

 

 

 

 

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ANEJO B

El Anejo B es una alegacién suplementaria que es producto de una
investigacion realizada por el sefior Faustino Betancourt durante su dilima visita
a fa Propiedad.

Las imagenes que se presentan a continuacién constatan el estado Instérico de
las instalaciones de Plaza Caparva especificamente del establecimiento
Supermax.

Cada imagen ticne al pie una referencia a la direccién aproximada de la barrera,
sus coordenadas aproximadas, una descripcion de Jo que muestra la imagen, asi
como una deseripcién sobre porque estis condiciones constituyen violaciones a
la ley ADA.

Cada uno de los aspectos aqui sefialados esta en controversia.

Las imagenes son a su vez una muestra representativa del estado cn ef que se
encuentran las instalaciones de Plaza Caparra especificamente del
establecimiento Supermax.

En este procedimiento civil, estan en controversia odds las instalaciones de
Plaza Capatra que tienen una configuracién inconsistente con el derecho
aplicable.
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SUPERMAX

o Acceso Adentro de la Propiedad: Acceso a Bienes y Servicios
- Primera seccién:

 

 

 

 

DIRECCION: Av. Franklin Delano Reosevelt, San
Juan, Guaynabo 00920, Puerto Rico
COORDENADAS: 18.411063854571818, -
66.1003 134542695 |
DECRIPCION; En Ja imagen arriba se puede verificar

que los pasillos, géndolas, filas o
caminos --ya sea para mirar los
productos, acceder areas de servicios,
areas de venta o pago, o cada lipo de
mostradar de servicio y venta-- no
tienen un espacio de al menos 36" que
pennita la movilidad adecuada dentro
de la Propiedad de manera
sustancialinente inconsistente con ta
reglamentaci6n aplicable
BARRERAS Estas condiciones dificullanan la
atnbulacién de una persona que
utilice silla de rueda, andador, bast6én
o que tenga dificultad de movilidad.
Obstruyendo ei disfrute de los bienes
o beneficios ofrecidos por la
Propiedad.

 

 

 

 

 
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DIRECCION: Av. Franklin Delano Rooseveit, San

 

 

Juan, Guaynabo 00920, Puerto Rico
COORDENADAS: 18.41 1063854571818, -

66.1003 1345426951
DECRIPCION: En la imagen arriba se puede verificar

que hay mostradores muy allo los
cuales dificulian el acceso a los
productos para una persona en
condicién de discapacidad, ademas la
configuracién y dimensiones son
sustancialmente inconsistentes con Ja
reglamentacion aplicable.
BARRERAS Estas condiciones dificullarian la
ambulacién de una persona que
utilice silla de rueda, andador, bastén
0 que tenga dificultad de movilidad.
Obstruyendo el disfrute de los bienes
o beneficios oftecidas por la
Propiedad,

 

 

 

 

 
 

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DIRECCION: Av. Franklin Delano Raosevelt, San
Juan, Guaynabo 00920, Puerto Rico
COORDENADAS: 18.41 1063854571818, -
66.1003 1345426951
DECRIPCION: En la imagen arriba se puede verificar

que los pasillos, gondolas, filas o
caminos --ya sea para mirar los
productos, acceder areas de servicios,
areas de venta o pago, o cada tipo de
mostrador de servicio y venta-- no
lienen un espacio de al menos 36" que
permita la movilidad adecuada dentro
de la Propiedad de manera
sustancialmente inconsistente con ja
reglamentacién aplicable.
BARRERAS Estas condiciones dificultarian la
ambulacién de una persona que
utilice silla de rueda, andador, basién
© que tenga dificultad de movilidad.
Obsiruyendo el distrute de los bienes
o beneficios ofrecidos por la
Propiedad.

 

 

 

 

 
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DIRECCION: Av. Franklin Delano Roosevell, San
Juan, Guaynabo 00920, Puerta Rico
COORDENADAS: 18.411063854571818, -
66,1003 [345426951
DECRIPCION: En la imagen arriba se puede verificar

que las vitrinas o mostradores que
albergan productos que se supone que
las personas pueden tomar por
iniciativa propia, estan a una altura
mayor 4 la permitida por la ley
aplicable.

BARRERAS Estas condiciones dificultarian Ja
ambulacién de una persona que
utilice silla de rueda, andador, bastén
o que tenga dificultad de movilidad.
Obstruyendo el disfrute de los bienes
o beneficios ofrecidos por la
Propiedad.

 

 

 

 

 
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DIRECCION: Av. Franklin Delano Roosevelt, San
Juan, Guaynabo 00920, Puerto Rico
COGORDENADAS: 18.41 1063854571818, -
66.1003 134542695 |
DECRIPCION: En Ja imagen arriba se puede verificar

que los pasillos contienen productos,
pero estos son ubicados a una altura
que imposibilitan el acceso para una

 

persona en condicién de
discapacidad,
BARRERAS Estas condiciones dificultarian fa

ambulacion de una persona que
utilice silla de rueda, andador, baston
© que tenga dificultad de movilidad.
Obstruyendo el disfrute de los bienes
o beneficios ofrecidos por la
Propiedad.

 

 

 

 
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DIRECCION: Av. Franklin Delano Roosevelt, San
Juan, Guaynabo 00920, Puerto Rica
COORDENADAS: 18.41 1063854571818, -
66.1003 134542695 |
DECRIPCHON: En la imagen arriba se puede verificar

que los pasillos contienen barreras
bien sea per productos o por
publicidad que disminuye el tamafio
del pasillo, lo cual obstruye cl libre
transite por el lugar.

BARRERAS Estas condiciones dificultarian fa
ambulacian de una persona que
utiice silla de rueda, andador, baston
© que tenga dificultad de moviltdad.
Obstrauyendo el disirufe de los bienes
o beneficios ofrecidos por la
Propiedad.

 

 

 

 

 
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DIRECCION: Av. Franklin Delano Reoesevell, San

 

 

Juan, Guaynabo 00920, Puerto Rico
COORDENADAS: 18.411063854571818, -

66.1003 134542695 |
DECRIPCION: En fa imagen arriba se puede verificar

que fos productos ubicados en los
pasillos contienen una configuracién
que obsiaculiza el acceso a los
productos para personas en condicidn
de discapacidad por su altura, ademas
representan un peligro para las
personas que jo infenten ya que
podrian caer productos a quien lo
intente.

BARRERAS Estas condiciones dificultarian la
ambulacién de una persona que
utilice silla de rueda, andador, baston
© que tenga dificultad de movihdad,
Obstruyendo el disfrute de los bienes
o beneficios ofrecidos por la
Propiedad.

 

 

 

 

 
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| ote eae ,

DIRECCION: Av. Franklin Delanc Roosevelt, San

| Juan, Guaynabo 00920, Puerto Rico

| COORDENADAS: 18.41 1063854571818, -

| 66,1003 134542695 |

| DECRIPCION: En la imagen arriba se puede verificar
|

que las vilrinas que contienen los
productos tienen una configuracion
inadecuada conforme a la ley
aplicable.

BARRERAS Estas condiciones dificultarian la
ambulacién de wna persona que
utilice silla de rueda, andador, bastén
© que tenga dificultad de movilidad.
Obstruyendo el disfrute de los bienes
o beneficios ofrecidos por la
Propiedad,

 

 

 

 

 

 
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DIRECCION: Av. Franklin Delano Roosevelt, San
Juan, Guaynabo 00920, Puerto Rico
COORDENADAS: 18.41 1063854571818, -
66.1003 1345426951
DECRIPCION;: En ja imagen arriba se puede verificar

que en ios pasillos se almacenan
productos que disminuye eF espacio
para transitar lo cual es contrario a la
ley aplicable.

BARRERAS Estas condiciones dificultarian la
ambulaci6n de una persona que
utilice silla de rueda, andador, bastén
o que tenga dificultad de movilidad.
Obstruyendo el disfrute de los bienes
o beneficios offecidos por fa
Propiedad.

 

 

 

 

 

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DIRECCION: Av. Franklin Delano Roosevelt, San

 

 

 

Juan, Guaynabo 00920, Puerto Rico
COORDENADAS: 18.411063854571818, -

66.10031345426951
DECRIPCION: En la imagen arriba se puede verifiear

que es una  constante del
establecimiento ubicar mercancia en
los pasillos io cual constituye un
riesgo para Jas personas en condicién
de discapacidad y a su vez una bartera
para su transite por el lugar,
BARRERAS Esias condiciones dificultarian la
ambulacién de una persona que
utilice silla de rueda, andador, baston
© que tenga dificuitad de movilidad.
Obstruyendo el disfrute de los bienes
o beneficios offecidos por la
Propiedad.

 

 

 

 

 

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DIRECCION: Av. Franklin Delano Roosevelt, San

 

 

Juan, Guaynabo 00920, Puerto Rico
COORDENADAS: 18.411063854571818, -
66.1003 134542695 1
DECRIPCION: En la imagen arriba se puede verificar

que las vitrinas tienen una
configuracion inadecuada conforme a
la ley aplicable.

BARRERAS Estas condiciones dificultartan fa
ambulacién de una persona que
ulilice silla de rueda, andador, baston
o que lenga dificuliad de movilidad.
Obstruyendo el dislrute de los bienes
o beneficios olrecidos por la
Propiedad.

 

 

 

 

 

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DIRECCION: Av. Franklin Delano Roosevelt, San

 

 

Juan, Guaynabo 00920, Puerto Rico
COORDENADAS: 18.41 1063854571818, -

66.1003 134542695 ]
DECRIPCION: En la imagen arriba se puede verificar

que en los pasillos se almacenan
productos, elementos para — el
transporte de estos productos, lo cual
obstaculiza el transito por el tugar,
BARRERAS Estas condiciones diticultarian ta
ambulacién de una persona que
utHice silla de rueda, andador, bastén
oO que tenga dificultad de movitidad.
Obstruyendo el disfrute de los bienes
o beneficios offecidos por fa
Propiedad.

 

 

 

 

 

13
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ANEJO C

El Anejo C es una alegacién suplementaria que es producto de una
investigacion realizada por el sefior Faustino Betancourt durante su titima visita
a la Propiedad.

Las imagenes que se presentan a confinuacion constatan el estado historico de
las instalaciones de Plaza Caparra, especificamente del eslablecimiento
Supermax.

Cada imagen fiene al pie una referencia a ta direccién aproximada de la barrera,
sus coordenadas aproximadas, una descripcidn de lo que muestra fa imagen, asi
como una descripcién sobre porque estés condiciones constituyen violaciones a
la ley ADA.

Cada uno de los aspectos aqui sefialados esta en controversia.

Las imégenes son a su vez una muestra representativa del estado en e} que se
encuentran las instalaciones de Plaza Caparra, especificamente del
estableeimiento Supermax.

En este procedimiento civil, estan en controversia todas las instalaciones de
Plaza Caparra que tienen una configuracién inconsistente con el derecho
aplicable.
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SUPERMAX

o Acceso Adentro de fa Propiedad: Acceso a Bienes y Servicios
- Segunda seccidn:

 

 

DIRECCION: Av. Franklin Delano Roosevelt, San
Juan, Guaynabo 90920, Puerto Rico
COORDENADAS: 18.41106385457 1818, -

66.1003 1345426951

DECRIPCION: En la imagen arriba se puede vertficar
que las vitrinas y los mostradores
contienen una configuracian
inadecuada, ya que los productos son
ubicados a una altura mayor a fa
establecida por la ley aplicable.
BARRERAS Estas condiciones dificultarian la
ambulacién de una persona que
utilice sitla de rueda, andador, bastén
o que tenga dificultad de movilidad.
Obstruyendo el disfrute de fos bienes
0 beneficios ofrecidos por la
Propiedad,

 

 

 

 

 

 

 
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DIRECCION: Avy. Franklin Delano Roosevelt, San

 

 

Juan, Guaynabo 00920, Puerto Rico
COORDENADAS: 18.41 1063854571818, -

66.1003 134542695 |
DECRIPCION: En la imagen arriba se puede veri ficar

que los pasillos, gondolas, filas o
caminos --ya sea para mirar los
productos, acceder areas de Servicios,
dreas de venta o pago, o cada tipo de
mostrador de servicio y venta-- no
tienen un espacio de al menos 36" que
permita Ja movilidad adecuada dentro
de la Propiedad de manera
sustancialmente inconsistente con la
reglamentacién aplicable

 

BARRERAS Estas condiciones dificultarian la
ambulacién de una persona que
utilice silla de rueda, andador, bastén
0 que tenga dificultad de movilidad.
Obstruyendo el disfrute de los bienes
a beneficios ofrecides por la
Propiedad.

 

 

 

 
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DIRECCION: Ay. Franklin Delano Roosevelt, San
Juan, Guaynabo 00920, Puerto Rico
COORDENADAS: 18.41 1063854571818, -
66,1003 134542695]
DECRIPCION: En fa imagen arriba se puede verificar

que la configuracién de — los
mostradores al interior de ta tienda es
inadecuada ya que conlienen una
altura mayor a la permitida por fa ley
aplicable, obstaculizando el acceso
para personas en condicién de
discapacidad.

 

BARRERAS Estas condiciones dificultarian la
ambulacion de una persona que
utilice silla de rueda, andador, baston
o que tenga dificultad de movilidad.
Obstruyende el disfrute de las bienes
o beneficios ofrecidos por fa
Propiedad.

 

 

 

 

 
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DIRECCION: Av. Franklin Delane Roosevelt, San
Juan, Guaynabo 00920, Puerto Rico
COORDENADAS: 18.41 1063854571818, -
66.1003 1345426951
DECRIPCHON: En la imagen arriba se puede verificar

que las vitrinas o mostradores que
albergan productos que se supone que
las personas pueden tomar por
iniciativa propia, estan a una altura
mayor a la permitida por la ley
aplicable.
BARRERAS Estas condiciones dificultarian [a
ambulacién de una persona que
utilice silla de rueda, andador, bastéu
o que tenga dificultad de movilidad,
Obstruyendo el disfrute de los bienes
o beneficios ofrecidos por la
Propiedad.

 

 

 

 

 

 
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DIRECCION: Av. Franklin Delano Roosevelt, San
Juan, Guaynabo 00920, Puerto Rico
COORDENADAS: 18.4110638545718 18, -
66.1003 134542695 |
PDECRIPCION: En la imagen arriba se puede verificar

que en los pasillos del lugar se
almacena mercancia que obstruye el
transito por el lugar.

 

BARRERAS Estas condiciones dificultarian la
ainbulacidn de una persona que
utilice silla de rueda, andador, bastén
0 gue tenga dificultad de movilidad.
Obstruyendo el disfrute de los bienes
o beneficios ofrecidos por ta
Propiedad.

 

 

 

 

 
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DIRECCION: Av. Franklin Delano Roosevelt, San
Juan, Guaynabo 00920, Puerto Rico
COORDENADAS: 18.411063854571818, -

66.1003 1345426951

DECRIPCION: En fa imagen arriba se puede verificar
que las vitrinas o neveras no
contienen una configuracién
adeacudada.

BARRERAS Estas condiciones dificullarian la
ambulacién de una persona que
utilice silla de rueda, andador, baston
© que tenga dificultad de movilidad.
Obstruyendo el disfrute de Jos bienes
o  beneficios ofrecidos por la
Propiedad.

 

 

 

 

 

 

 

 
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DIRECCION: Av. Franklin Delano Roosevelt, San
Juan, Guaynabo 00920, Puerto Rico
COORDENADAS: 18.41 1063854571818, -

66.1003 1345426951

DECRIPCION: En fa imagen arriba se puede verificar
que es recurrente en el lugar la
politica de mantener una
configuracién imadecuada de los
articulos ubicados en medic del
pasillo, ya que su altura es mayor a la
establecida por la ley aplicable.

 

 

 

BARRERAS Estas condiciones dificultarian la
ambulaci6n de una persona que
utilice silla de rueda, andador, bastén
o que tenga dificullad de movilidad.
Obstruyendo el distrute de fos bienes
o beneticios ofrecidos por ta
Propiedad.

 

 

 

 

 
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DIRECCION: Av. Franklin Delane Roosevelt, San
Juan, Guaynabo 00920, Puerto Rico
COORDENADAS: 18.41 1063854571818, -
66.1003 1345426951
DECRIPCION: En la imagen arriba se puede verrficar

que los estantes del ligar ubican los
productos muy altos, los cuales
imposibilitan el acceso a estos y a su
vez representan un riesgo latente para
quien intente acceder a ellos.
BARRERAS Estas condiciones dificultarian la
ambulacién de una persona que
utilice silla de rueda, andador, bastén
© que tenga dificuitad de movilidad.
Obstruyendo el disfrute de los bienes
o beneficios ofrecidos por la
Propiedad.

 

 

 

 

 
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DIRECCION: Av. Franklin Delano Roosevelt, San
Juan, Guaynabo 00920, Puerto Rico

COORDENADAS: 18.411063854571818, -
66.1063 134542695 |

DECRIPCION: En fa imagen arriba se puede verificar
que jas areas de pago eo mostradores

confienen una altura mayor a la
permitida por la ley aplicable.
BARRERAS Estas condiciones dificultarian la
ambulacién de una persona que
utilice silla de rueda, andador, bast6n
o que tenga dificultad de movilidad.
Obstruyendo el distrute de los bienes
o beneficios offecidos por la
Propiedad,

 

 

 

 

 

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DIRECCION: Av. Franklin Delano Roosevelt, San
Fuan, Guaynabo 00920, Puerto Rico
COORDENADAS: 18.41 1063854571818, -
66.1003 1345426951]
DECRIPCION: En la imagen arriba se puede verificar

que no hay cajas con una
configuracién que garantice el acceso
con buenas condiciones para una

 

 

persona en condicién de
discapacidad,
BARRERAS Estas condiciones dificultarian la

ambulacién de una persona que
utilice silla de rueda, andador, baston
© que tenga dificultad de movilidad.
Obstruyendo el distrute de fos bienes
o beneficios ofrecidos por la
Propiedad.

 

 

 

 

 

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DIRECCION: Av. Franklin Delano Roosevelt, San

 

 

 

Juan, Guaynabo 00920, Puerto Rico
COORDENADAS: 18.41 1063854571818, -

66.1003 134542695 1
DECRIPCION: En Ja imagen arriba se puede verificar

que es recurrente que en ef lugar todas
sus vitrinas @ neveras tienen una
altura mayor a la permilida por fa ley
aplicable.

BARRERAS Estas condiciones dificultarian la
ambulacién de una persona que
utilice silla de rueda, andador, bastén
o que tenga dificultad de movilidad.
Obstruyende el disfrute de los bienes
o beneficios ofrecidos por fa
Propiedad.

 

 

 

 

 

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DIRECCION: Av. Franklin Delano Roosevelt, San

 

 

Juan, Guaynabo 00920, Puerto Rico
COORDENADAS: 18.41 1063854571818, -

66.1003 1345426951
DECRIPCTON: En la imagen arriba se puede verilicar

que los pasillos de las cajas o dreas de
page contienen una medida de ancho
menor a la permitida por la ley
aplicable.

BARRERAS Estas condiciones dificultarian la
ambulacion de una persona que
utilice silla de rueda, andador, bastén
0 que tenga dificultad de movilidad.
Obsiruyendo el disfrute de los bienes
o beneficios oftecidos por ta
Propiedad.

 

 

 

 

 

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DIRECCION: Ay, Franklin Delano Roosevelt, San

 

 

Juan, Guaynabo 00920, Puerto Rico
COORDENADAS: 18.41 1063854571818, -

66,1003 1345426951
DECRIPCION: En la imagen arriba se puede verificar

que fos articulos ubicades en medic
de los pasillos que se espera que las
personas accedan a ellos por
iniciativa propia tienen una altura
mayor al maximo permitide por Ja ley
aplicable.

BARRERAS Estas condiciones dificultarian la
ambulaci6n de una persona que
utilice silla de rueda, andador, bastén
oO que tenga dificultad de movilidad.
Obstruyendo el disfrute de los bienes
o beneficios ofrecidos por la
Propiedad.

 

 

 

 

 

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ANEJO D

Hl Anejo D es una alegacién suplementaria que es producto de una
investigacion realizada por el sefior Faustino Betancourt durante su titima visita
ala Propiedad.

Las imagenes que se presentan a continuacién constatan ef estado histérico de
jas instalaciones de Plaza Capatra especificamente de los bafios del
establecimiento Supermax.

Cada imagen tiene al pie una referencia a ta direccién aproximada de la barrera,
sus coordenadas aproximadas, una descripcién de lo que muestra la imagen, asi
come una descripcion sobre porque estas condiciones consLiluyen violaciones a
la ley ADA,

Cada uno de los aspectos aqui sefialados esté on controversia.

 

Las imagenes son a su vez. una muestra representativa del estado en el que se
encuentran las instalaciones de Plaza Caparra especificamente de los bafios del
establecimiento Supermax,

En este procedimiento civil, estan en controversia todas las instalaciones de la
estacidn de Plaza Caparra que tienen una configuracidn inconsistente con el

derecho aplicable.

 

 
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SUPERMAX

 

 

 

 

 

 

DIRECCION: Av. Franklin Delano Roosevelt, San
Juan, Guaynabo 00920, Pucric Rico
COORDENADAS: 18.41 103207778588, -
66.1003 1609880998
DECRIEPCION: En la imagen arriba se puede

verificar que la puerta de entrada al
bafio contiene un Mecanismo que
requiere girar la mufieca lo cual es
contrario a lo eslablecido por la ley
aplicable.

 

 

BARRERAS Estas condiciones dificultarian la
ambulacién de una persona que
utilice silla de rueda, andador, bast6n
o que tenga dificultad de movilidad.
Obstruyendo el disfrute de los bienes
o beneficios oftecidos por Ja
Propiedad.

 

 

 

 

 
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DIRECCION: Av. Franklin Delano Roosevelt, San

 

 

 

Juan, Guaynabo 00920, Pucrio Rico
COORBENADAS: 18.41 103207778588, -

66.1003 1609880998
DECRIPCION; En fa imagen arriba se puede :

verificar que se provee un bafio para
una persona a la vez, y la puerta abre
hacia adentro del cuarto, pero el drea
adyacente al inodaro no tiene el
espacio de 30" x 48" adyacente a la
puerta. Aunado con que hay un
ielrero de seguridad pero que su
ubicacion, impide el acceso al
inodoro,

BARRERAS Estas condiciones dificultarian la
ambulacion de una persona que
ulilice silla de rneda, andador, baslén
o que tenpa dificultad de movilidad.
Obstruyende cl disfrute de los bienes
o beneficios ofrecidos por ta
Propiedad.

 

 

 

 

 

 

 
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DIRECCION: Ay, Franklin Delano Roosevelt, San
Juan, Guaynabo 00920, Puerto Rico
COORDENADAS: 18.41 103207778588, -
66.1003 1609880998
DECRIPCION: fin la imagen arriba se puede

verificar que en cuanto a los
pasamanos alrededor del modoro,
tanto ai lado ("side grab bar") como
detras ("rear grab bar") del inodoro,
la configuracién existente en la pared
al lado y detras del inodoro es
sustanciahnente inconsislente con la
reglamentacion aplicable a los
pasamanos.

 

 

BARRERAS Estas condiciones dificultarian la
ambulacién de una persona que
utilice sila de rueda, andador, baston
o que tenga dificultad de movilidad.
Obstruyendo el disfrute de los bienes
o beneficios ofrecidos por la
Propiedad.

 

 

 

 

 

 

 

 

 
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BDIRECCION: Av. Franklin Delano Roosevelt, San

 

 

 

Juan, Guaynabo 00920, Puerto Rico
COORDENADAS: 18.41 163207778588, -

66.1003 1609886998
DECRIPCION: En la imagen arriba se puede

verificar que en cuanto al area del
inodoro, la configuracién existente
en la pared al lado y detras del
inodoro es suslancialmente
inconsistente con la reglamentacion
aplicable.

BARRERAS Estas condiciones dificuitarian ja
atabulacion de una persona que
utilice silla de rueda, andador, bast6n
o que tenga dificultad de movilidad.
Obstruyendo el disfrute de los bienes
o beneticios ofrecidos por la
Propiedad.

 

 

 

 

 

 

 

 
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DIRECCION: Av. Franklin Delano Roosevelt, San
Juan, Guaynabo 00920, Puerto Rico
COORDENADAS: 18.41 103207778588, -
66,1663 1609880998
DECRIPCION: En fa imagen arriba se puede

verificar que la papelera tiene una
configuracién contraria fa ley
aplicabie,

BARRERAS Estas condiciones dificultarian la
ambulacion de una persona que
utilice silla de rueda, andador, baston
© que fenga dificultad de movilidad.
Obsiruyendo ei disfrute de los bienes
o beneficios ofrecidos por la
Propiedad.

 

 

 

 

 

 

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DIRECCION: Avy. Franklin Delano Roosevell, San
Juan, Guaynabo 00920, Puerto Rico
COORDENADAS: 18.41 103207778588, -
66, 1003 £609880998
DECRIPCION; En la imagen arriba se puede

verificar que en cuanto al area de!
inodoro, el posicionamtenio del
dispensador de papel de inodoro, asi
como cl papel de inodoro, es
sustancialmente inconsistente con /a
reglamentacién aplicable.
BARRERAS Estas condiciones dificultarian ia
ambulacién de una persona que
utilice silla de rueda, andador, bastén
o que tenga dificullad de movilidad.
Obstruyendo el disfrute de los biencs
© beneficios ofrecidos por la
Propiedad.

 

 

 

 

 
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DIRECCION: Av. Franklin Delano Roosevell, San
Juan, Guaynabo 00920, Puerto Rico
COORDENADAS: 18.41 103207778588, -
66.1003 1609880998
DECRIPCION: En la imagen arriba se puede

verifiear que la puerta para salir del
bafio contiene un mecanismo que
requiere girar la mufieca para
accionatlo lo cual es contrarto a la
ley aplicable.

BARRERAS Estas condiciones dilicultarian fa
anvbulacion de una persona que
utilice silla de rueda, andador, bastén
o que tenga dificullad de movilidad.
Obstruyendo el disfrute de los bienes
o beneficios ofrecides por la
Propiedad,

 

 

 

 

 

 
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DIRECCEON: Av. Franklin Delano Roosevelt, San
Juan, Guaynabo 00920, Puerto Rico
COORDENADAS: 18.41 103207778588, -
66, 1003 1609880998
DECRIPCION: En la tmagen arriba se puede

verificar que la configuractén del del
baiio accesible es contraria a la ley
aplicable.

BARRERAS Estas condiciones dificultarian la
ambulacién de una persona que
utilice silla de rueda, andador, baston
o que tenga dificuliad de movilidad.
Obstruyendo el disfrute de fos bienes
o beneficios ofrecidos por la
Propiedad.

 

 

 

 

 

 
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DIRECCION: Ay. Franklin Delano Roosevelt, San
Juan, Guaynabo 00920, Puerto Rico
COORDENADAS: 18.41 103207778588, -
66,1003 1609880998
DECRIPCION: En la imagen arriba se puede

verificar que la rufa que conduce al
baiio accesible alberga productos y
carros de mercado que obstaculizan
el transito por el lugar, !o cual es
comtrario a lo establecido por la ley
aplicable.

BARRERAS Estas condiciones dilicultarian la
ambulacién de una persona que
utilice silla de raeda, andador, bastén
o que (enga dificultad de mevilidad.
Obstruyendo el disfrute de los bienes
o beneficios olrecidos por Ja
Propiedad.

 

 

 

 

 

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DIRECCION:

Av. Franklin Delano Roosevelt, San
Juan, Guaynabo 009260, Puerto Rica

 

COORDENADAS:

18.41 103207778588, -
66.1003 1609880998

 

DECRIPCION:

En la imagen arriba se puede
verificar que la puerta del baiio
accesible no contiene el espacio
requerido para girar y cerrar, lo cual
es contrario a io establecido par la
ley aplicable,

 

BARRERAS

 

 

Estas condiciones dificultarian la
ambulacién de una persona que
ulilice silla de rueda, andador, bastén
o que tenga dificultad de movilidad.
Obstruyendo el disfrute de los bienes
o beneficios ofrecidos por la
Propiedad.

 

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DIRECCION: Av. Franklin Delano Roosevelt, San
Juan, Guaynabo 00920, Puerto Rico
COOGRDENADAS: 18.41 103207778588, -
66. 10031609880998
DECRIPCION: Ln fa imagen arriba se puede

 

verificar que en cuante al lavamanos,
la parte de abajo del lavamanos no
esta configurada para evitar el
conlacto con los objetos que estan
debajo del lavamanos, Ademas el
grifo no tiene una configuracion que
permite su operacién sin tener que
apretar fuerte, torcer o girar la
imufiera,

BARRERAS Estas condiciones dificultarian la
ambulacién de una persona que
utilice silla de rueda, andador, bastén
o gue tenga diliculiad de movilidad.
Obstruyendo el disfrute de los bienes
o benelicios oftecidos por la
Propiedad,

 

 

 

 

 

 

 

 

 

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DIRECCION: Av. Franklin Delano Roosevelt, San
Juan, Guaynabo 00920, Puerto Rico
COORDENADAS: 18.41 103207778588, -
66.1063 1609880998
DECRIPCION: En la imagen arriba se puede

verificar que el secador de manos
esta ubicado a una altura mayor a la
establecida por ta ley aplicabte.
BARRERAS [:stas condiciones diticultarian la
ambulacién de una persona que
utilice silla de rueda, andador, bastén
o que tenga dificultad de movilidad.
Obstruyendo el disfrute de los bienes
o beneficios ofrecidos por la
Propiedad.

 

 

 

 

 

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